88 F.3d 1278
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.FOUNTAINVIEW CARE CENTER, Petitioner,v.NATIONAL LABOR RELATIONS BOARD, Respondent.
    No. 95-1451.
    United States Court of Appeals, District of Columbia Circuit.
    May 22, 1996.
    
      Before:  WILLIAMS, HENDERSON and RANDOLPH, Circuit Judges.
    
    JUDGMENT
    
      1
      This cause came to be heard on a petition for review of an order of the National Labor Relations Board and a cross-application for enforcement, and was briefed and argued by counsel.   While the issues presented occasion no need for a published opinion, they have been accorded full consideration by the court.   See D.C.Cir.R. 36(b).   It is therefore
    
    
      2
      ORDERED and ADJUDGED that the petition for review is denied, and the Board's cross-application for enforcement granted, substantially for the reasons set forth in the decision and order of the Board.   See Shore Health Care Center, Inc. t/a Fountainview Care Center, et al., 317 NLRB No. 151 (1995).
    
    
      3
      The clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.R. 41.   This instruction to the clerk is without prejudice to the right of any party at any time to move for expedited issuance of the mandate for good cause shown.
    
    